
In re: Edward M. Mayo, Administrator of the Estate of Mabel Arnett Putnam and Arthur F. Dumaine, Administrator of the Estate of Israel Mercer Putnam applying for certiorari, or writ of review, to the Court of Appeal, First Circuit, Parish of St. Tammany. 277 So.2d 520.
Writ denied. The result is correct.
TATE, J., concurs, noting that the issue as to the adjudication for 1933 taxes was raised in the lower court, but is without merit since the redemption in 1935 was valid under Act 14, 4th extra session of 1935; so such 1933 adjudication had no effect on the validity of the present tax sales for 1937 and 1939 taxes.
